AO 243 (Rev. 09/17)
                         MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT
                                            SENTENCE BY A PERSON IN FEDERAL CUSTODY

United States District Court                                     IDistrict   Eastern District of North Carolina·
Name (lmder ,~hich yo11-1veri convicted}:                                                                ·1Docket or Case No.:
  Cruz Eduardo Valencia-Ada ta                                                                              5:08-CR-75-1-FL
Place of Confinement:
  FCI Estill, P.O. Box 699, Estill, SC 29918
                                                                                    I Prisoner No.:
                                                                                                            51077-056
UNITED STATES OF AMERICA                                                           Movant (inc/11de name 11nder which co1111icted)
                                                            V.     Cruz Eduardo Valencia-Ada ta

                                                                 MOTION
                                                                                                                                     F\LED
     1.    {~) Nam~ and l~cation of ~ourt which entered the judgment of con~iction you are ch'allengi~g:
          United States District Court
          For thk Eastern District of North Carolina
          413 Middle Street
          New Bern, NC 28560
           {b) Criminal docket or case number (if you know): _5_:_0_8_-_C..;;..R_-_7_5_-_1_-_;F_;L~---------

     2.    (a) Date of the judgment of conviction (if you know): _0_5_-_1_2_-_2_0_0_9____________
           (b) Date of sentencing:            05-12-2009
     3.    Length of sentence: 292 months on Count 1, a term of 120 months on Count 2, and a term
                                       of 240 months on Count 3, all terms to be served concurrently.
     4.    Nature of crime (all counts):
            Count 1: Conspiracy to distribute and possess with intent to distribute 5
                     kilograms or more of cocaine, in violation to 21 u.s.c.: §846.
            Count 2: Possession of firearms by an illegal alien, in violation of 18 u.s.c.
                     §922(g)(5).
            Count 3: Conspiracy to launder monetary instruments, in violation of 18 u.s.c.
                     §1956(h).                         .       .-:

     S.    (a) What was your plea? ·(Check one)
                (1) Notguilty         D                  (2) Guilty     [Kl                   (3) Nola contendere (no contest)         D
     6.    (b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment,
           what did you plead guilty to and what did you plead not guilty to?




     6.     If you went to trial, what kind oftrial_ did you have? (Check one)                      JuryD                Judge onlv   I I
     7.     Did you testify at a pretrial hearing, trial, or post-trial hearing?            Yes   0                      No@


                                                                                                                                      Page2 of 13


                      Case 5:08-cr-00075-FL Document 107 Filed 10/22/19 Page 1 of 16
AO 243 (Rev. 09/17)
    8.    Did you appeal from the judgment of conviction?            YesO                   No[i]

     9.    If you did appeal, answer the following:
           (a) Name of court:
           (b) Docket or case number (if you know):
           (c) Result:
           (d) Date of result (if you know): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           (e) Citation to the case (if you know):
           {f) Grounds raised:




           (g) Did you file a petition for certiorari in the United States Supreme Court?
                 If"Yes," answer the following:      ;
                                                                                              Yes   •            No(!]


                 (1) Docket or case number (if you know):
                                                            ----------------------
                 (2) Result: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                 (3~ Date of result (if you know):
                 (4) Citation to the case (if you know):
                 (5) Grounds raised:




    10.    Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications,
           concerning this judgment of conviction in any court?
             YesO          No[KI

    11.     If your answer to Question 10 was "Yes," give the fol~owing information:
            (a) (1) Name of court:
                 (2) Docket or case number (if you know):
                 (3) Date of filing (if you know):
                                                     --------------------------

                                                                                                                     Page 3 of 13


                      Case 5:08-cr-00075-FL Document 107 Filed 10/22/19 Page 2 of 16
AO 243 (Rev. 09/17)

                (4) Nature of the proceeding:
                ( S)   Grounds raised:
                                                ---------------------------




                (6) Did you receive a hearing where evidence was given on your motion, petition, or application?
                          Yes[]          1NoO
                (7) Result:
            \                 ------'---------......-----------,-------------
             ' (8) bate ofresult (if you Imow):
         (b) If you filed any second motion, petition, or application, give the same information:
                (1) Name of court:
                                         -----------------------------
                (2) Docket ofcase number (if you know):
                (3) Date of filing (if you know):
                                                           ----------------~------
                (4) Nature of the proceeding:
                (S) Grounds raised:




                (6) Did you receive a hearing where evidence was given on your motion, petition, or application?
                         .,vesO           NoO.
                (7) Result:
                              ---------------------------------
                (8) Date of result (if you know):
          ( c) Did you appeal to a federai appellate court having jurisdiction over the action taken on your motion, petition,
          or application?
                                                    D           D
          . •· (1) First petition:
                 (2) Second petition:
                                           . Yes
                                            Yes    •       No
                                                           No   •                                                     ,.-
          (d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you did not:




                                                                                                                      Page4 of 13


                       Case 5:08-cr-00075-FL Document 107 Filed 10/22/19 Page 3 of 16
AO 243 (Rev. 09/17)


  12.    For this motion, state every ground on which you claim that you are being held in violation of the Constitution,
         law~, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
         supporting each ground. Any legal arguments must be submitted in a separate memorandum.

GROUND ONE: Movant Is Actually Innocent of possessing a __ firearm by a
                        illegal alien.
         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that sup~~rt your claim.):
        Before Rehaif v. United States, the Government only had to prove a
        person charged with a §922(g) offense knew he possessed a firearm.
        The Government di not have to prove that the accused person knew
        that he belonged to the relevant category of persons barred from
        possessing firearms that made possession of a firearm illegal. Rehaifi
    ''held t~at that was wrong -                               te
                                         obtai~ s convictidn under §922(g}, the
        Government now has to' prove Doth that a deflendant knew he ,possess'ed
      : a ftrear~, and that he· knew he belonge4 to the releva_nt category of
        persons; bar.red. from pqssessing f:i..rearms. The. same principl~ that .. ·.
     _ governs ov~r Reha if v. United. States· applies to the: Movan t ., s convi_c tion
     · under 18 u.s.c. §922(g)(5) and 924(a)(2). The facts that support
~~,     t~is Ground are accuratelly set forth in the attached siction_2255
·     · Motion Continuation Pages: (Attachment A.O to A.3).                 .,.,                                       0




        (b) Direct Appeal of Ground One:
             (1) If you appealed from the judgment of conviction, did you raise this issue?
                      YesO             NoO
             (2) If you did not raise this issue in your direct appeal, explain why:




        (c) Post~Co~yiction. Proceedings:
             (1) ., Did ·yoµ raise this issrie in an:Vpbst:i~onfitiioh motion_;     ;etiti()~,or •~tpplt~u,qn?
                      Yes!     I       Nol]]                                        ·           · · · -··    ·
             (2) If you answer to Question (c)(l) is '"res," state:
             Type of motion or petition;
             Name and location of the court where the motion or oetition was filed:


             Docket or case number (if you know):
             Date of the court's decision:
             Result (attach a· copy of the court's opinion or order, if available)•.
                                                                       ..   -.• .
                                                         • y




             (3) Did.you receive a hearing on_ your motion, petition, or application?
                      YesD             NoO
                                                                                                                    · Pages of 13



                  Case 5:08-cr-00075-FL Document 107 Filed 10/22/19 Page 4 of 16
                                §2255 MOTION CONTINUATION PAGES
                                         "ATTACHMENT A.0'-'


              Movant most humbly and respectfully requests this Honorable Court
           to construe his pleadings (for he is unlearned to the Science of Law)
           liberally pursuant to the doctrine of Haines v. Kerner, 404 U.S. 519,
           520-21, 92 S. Ct. 594, 30 L. Ed. 2d 652 (1972) and broadly pursuant
                                                            nd
           to,the doctrine of Cruz v. Gomez 202 F.3d 593 (2    Circuit 2000).


              This Ground involves a claim of Actual Innocence, see McQuiggin
           v. Perkins.


                                        -SUPPORTING FACTS-
              Before Rehaif v. United States, the Governmant only had to prove
           a person charged with a §922(g) offense knew he possessed a firearm.
           The Government did not have to prove that the accused person knew
           that he belonged to the relevant category of persons barred from
,.. ·, .   poss.ess-ing. ,firearrns that made pos_session -. of a fi-r~arm ,tll·egal. ,Rehaif

           held that that was wrong -to obtain a conviction under §922(g), the
           Government now has to prove both that a defendant knew he possessed
           a firearm, and that he knew he belonged to the relevant category of
           persons barred from possessing firearms. The same principle that
           governs over Rehaif v. United States applies to the Movant's
           conviction under 18 U.S.C. §922(g)(1) and §924(a)(2).


              By the time of his arrest, Movant had not finished High School,
           therefore, if Movant was illiterate, how could he understand the
           Science of Law, which is more complex, especially if it has not been


                    Case 5:08-cr-00075-FL Document 107 Filed 10/22/19 Page 5 of 16
                                                "ATTACHMENT A.1"


     explained to him? Besides, Movant did not know - and was never told-
     that the word knowingly in 18 U.S.C. §924(a)(2) applies both to the
     Movant's conduct and to the Movant's status. Movant is therefore
     Actually Innocent of this crime.



          The matter\ of proving beyond
                                    \
                                        a reasonable doubt that the
                                                                 \
                                                                    Movant   \


     had a guilty state of mind required by the statute's language and
                            '.                       \                           \                     \
                            '                        '                           '
     purposes of §922(g) and §924(a)(2) is paramount. Some may imply that
     a convicted felon receives a Judgement and Commitment and therefore
     should know that he is barred from possessing firearms. But this

     argument lacks logic, for it contains a fact and a suppossition.
     Who can assure that the convict has read the Judgement and Commitment,
     or evenmore, assure that he understands what he read, especially
     when illiterate? What about the foreigner who is illiterate to the
     English language? That is like saying a person assumes he knows how

,. •.:., · ~() ___ lJ.~~: a cert.?tq_ ~ap12J.t.9:yice he just bQ\!g_bJ-. stc:ri.PlY.. p~C:.§US_~.,.Jl. §,Ji?»r.P.¥ ~l.~-
                                 0                                                                               0




     previous model and therefore doesn't need to read the owner's manual.


          Ev~n more important, how can it'be assumed that an illiterate·
     convict knows that he is barred from possessing a firearm if his
     comprehension of the complexities of the Science of Law is uncertain
     at best because he is unlearned?


          This is a crucial element which congress has the responsability
      to solve. Perhaps congress should order State and Federal Judges to
      tell the convict, during his sentencing, that he is barred from


                  Case 5:08-cr-00075-FL Document 107 Filed 10/22/19 Page 6 of 16
                                                             "ATTACHMENT A.2"



  possessing firearms, and making sure that he understands that from

   that very moment forward, he belongs to the relevant category of

   persons barred from possessing firearms, for once there exists a

  written Court record (transcripts), then the status element (cf.

   illegal alien, convicted felon, etc.) will be satisfied and the

   conviction for knowingly violating the statutes of §922(g) and
                                           1
   §924(a)(2) will be innevitable. Just be2ause the statute lists a

   category or·persons barred: from possessing a firearm does not prove

   knowledge of violating the statute's elements, and therefore it
   cannot be self.-satisfied. The Law is satisfied by FACTS not assumptions.



                   FACT. 1· Something that actually exists; an aspect of reality <it
    is a fact that all people are mortal>.                                   ·FACTS include not just tangible
    things, actual occurrences, and relationships, but also states of

   mind such as intentions and holding of opinions. 2· An actual or

   alleged event or circumstance, as distinguished from its legal effect,
. : .:   .;. ;, - . :,,.:_ :.. -~   .                                          .. ,. . ....:.-.......
                                                                               _        ;_~         :\- ::.,   ~,·'   .. -;•   ~"'
   consequence, or interpretation <the Jury made a finding or fact>

    (Black's Law Dictionary).



                   Suppossition. An assumption that something is true, without proof

   of its veracity; the act of supposing (ibid).



                   To convict a,.d_efendant·under 18 U.S.C. §922(g) .and §924(a)(2), the

   Government therefore must show that the defendant knew he possessed

   a firea~m and also that he knew he had the relevant -status when he

   possessed it.



                                        Case 5:08-cr-00075-FL Document 107 Filed 10/22/19 Page 7 of 16
                             "ATTACHMENT A.3"


   By specifying that a defendant may be convicted only if he
knowingly violates 18 U.S.C. §922(g), Congress intended to require

the Government to establish that a defendant knew he violated the
material elements of §922(g).



   In conclusion, in a prosecution under 18 U.S.C. §922(g) and §924
(a)(2), the tovernmant musi prove beyond~ reasonable dobbt both
that the def~ndant knew he possessed a fir~arm and that he knew he
_belonged to the relevant category of persons barred from possessing
a firearm.


   For a thorough analysis on the Movant's Supporting Facts, see the
attached Exhibit A (the opinion of the United States Supreme Court
regarding violating 18 U.S.C. §922(g) and §924(a)(2) by Justice
Breyer).




                                         . '_   -.   ~   ,,'   ,,   ,   ·-   ....,   -' ,"




        Case 5:08-cr-00075-FL Document 107 Filed 10/22/19 Page 8 of 16
· AO 243 (Rev. 09/17)

                (4) Did you appeal from the denial of your motion, petition, or application?
                          YesO          NoO
                (5) If your answer to Question (c)(4) is "Yes," did you raise the issue in the appeal?
                          YesO          NoO


                (6) If your answer to Question (c)(4) is "Yes," state:
                Name and location of the court where the appeal was filed:


                Docket or case number (if you know):
                Date of the court's decision:
                Result (attach a copy of the court's 'opinion or order, if available):




                (7) If your answer to Question (c)(4) or Question (c)(S) is "No," explain why you did not appeal or raise this
                issue:




  GROUND TWO:


           (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):


                                                                                                                                   I.




           (b) Direct Appeal of Ground Two:
                (1) If you appealed from the judgment of conviction, did you raise this issue?
                           YesO          NoO




                                                                                                                      Page6of 13


                        Case 5:08-cr-00075-FL Document 107 Filed 10/22/19 Page 9 of 16
AO 243 (Rev. 09/17)


              (2) If you did not raise this issue in your direct appeal, explain why:




         (c) Post-Conviction Proceedings:
              (I) Did you raise this issue in any post-conviction motion, petition, or application?
                        YesO           NoQ
              (2) If you answer to Question (c)(l) is "Yes," state:
              Type of motion or petition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (if you know):
              Date ofthe court's decision:
              Result (attach a copy of the court's opinion or order, if available):




               (3) Did you receive a hearing on your motion, petition, or application?
                        YesO           NoO
               (4) Did you appeal from the denial of your motion, petition, or application?
                        YesO           NoO
               (5) If your answer to Question (c)(4) is "Yes," did you raise the issue in the appeal?
                        YesO           NoO
               (6) If your answer to Question (c)(4) is "Yes," state:
               Name and location of the court where the appeal was filed:


               Docket or case number (if you know):
               Date of the court's decision:
               Result (attach a copy of the court's opinion or order, if available):




               (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise this
               issue:




                                                                                                                    Page 7 of 13


                  Case 5:08-cr-00075-FL Document 107 Filed 10/22/19 Page 10 of 16
AO 243 (Rev. 09/17)

GROUND THREE:


         (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




         (b) Direct Appeal of Ground Three:
              (I) If you appealed from the judgment of conviction, did you raise this issue?
                      Yesl    J       Nol     !
              (2) If you did not raise this issue in your direct appeal, explain why:




         (c) Post-Conviction Proceedings:
              (1) Did you raise this issue in any post-conviction motion, petition, or application?
                      YesO            NoO
              (2) If you answer to Question (c)(l) is "Yes," state:
              Type of motion or petition:
              Name ~nd location of the court where the motion or petition was fiied:


              Docket or case number (if you know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):




              (3) Did you receive a hearing on your motion, petition, or application?
                      YesO            NoO
              (4) Did you appeal from the denial of your motion, petition, or application?
                      YesO            NoO
              (5) If your answer to Question (c)(4) is "Yes," did you raise the issue in the appeal?
                       YesO           NoO



                                                                                                                    Page 8 of 13

                  Case 5:08-cr-00075-FL Document 107 Filed 10/22/19 Page 11 of 16
AO 243 (Rev. 09/17)


              (6) If your answer to Question (c)(4) is "Yes," state:
              Name and location of the court where the aooeal was filed:


              Docket or case number (if you know):
                                                        ---------------
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):



              (7) If your answer to Question (c)(4) or Question (c)(S) is ''No," explain why you did not appeal or raise this
              issue:,




 GROUND FOUR:


         (a) Supporting facts (Do not argue or cite law. Just state the sp'ecific facts that support your claim.):




                                                                                                         ....:.~,   :-·: . - . - -------.:   ~




          (b) Direct Appeal of Ground Four:
               (1) If you appealed from the judgment of conviction, did you raise this issue?
                         ;esO          NoO         ,                         ,
               (2) If you did not raise this issue in your direct appeal, explain why:




          (c): Post-Conviction Proceedings:
               (1) Did you rais~ this issue in any post-conviction motion, petition, or application?
                         Yesl_J        NoO                       ·

               (2) If you answer to Question (c)(l) is "Yes,., state:


                                                                                                                                       Page 9 of 13


                      Case 5:08-cr-00075-FL Document 107 Filed 10/22/19 Page 12 of 16
 AO 243 (Rev. 09/17)

                               Type of motion or petition: ·
                                                               ----------------------------
                               Name and location of the court where the motion or petition was· filed:


                               Docket or case number (if you know):
                               Date of the court's decision:
                               Result (attach a copy of the court's opinion or order, if available):



                               (3) Did you receive a hearing on your motion, petition, or application?
                                         YesO           NoO
                               (4) , Did you appeal from th~ denial of your motion, ~tition, or application?
    . .-~·. ,       \   .             , Yes   D,      Noq          ~.. .. ,        .   ,              ,       .    ,
                               ·cs)   lfyour·answerto Question (c)(4) is ''Yes," did you raise the issue in the appeal?
. ~ . .,   .• ·,"                     _YesO          NoO                      .~::•
                               (6) If your answer to Question (c)(4) is "Yes;~• state:
                              . Name and location of the court where the appeal was tiled:


                               Docket or case number (if you know):
                               Date of the court's decision:
                               Result (attach a copy of the court's opinion or order, if available):



                               (7) If your answer to Question (c)(4) or Question (c)(5) is ''No," explain why you did not appeal orraise this
                               issue:




                                                                                                                          ..
      13.                   ls there any ground in this motion that you have not previously presented in some federal court? If so, which
                            ground or grounds have not been presented, and state your reasons for not presenting them:
                        Ground One of Movant's Motion has never been presented in any Federal
                        Court becaus-e Movant did not know -and·'was never told- that the
                        Go.vernment mu'~£. prove'. '96th. that 'the.::Movi:ftit knew 'he_::poss·ess·ed fir~arms'
                        and that the Movant belonged to the relevant category of persons
                        barred from possessing firearms.




                                                                                                                                    Page lOof 13


                                      Case 5:08-cr-00075-FL Document 107 Filed 10/22/19 Page 13 of 16
        AO 243 (Rev. 09/17)
          14.    Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court for the
                 you are challenging?                                Yes   D.                       No ~
                 If"Yes," state the name and location of the court, the docket or case number, the type of proceeding, and the
                 issues raised.




          15.     Give the name and address, if known, of each attorney who represented you in the following stages of the
'   '           · judgment you    challenging:    are
                  (a) Atthepreliminaryhearing: James Ashley Pearce
                                                    '                      5 We~t :Hargett St. #10,10) Raleigh, NC 2:7601
                 (b) Atthearraignmentandplea:                                David Bruce Freedman
                                                                             301 N Main SL, Suite 1100, -Winston Salem, NC 27101.
                 (c) Atthetrial:


                 (d) At sentencing:                                          David Bruce Freedman
                                                                             301 N Main St. Suite 1100, Winston Salem, NC 27101
                 (e) On appeal:


                 (f) In any post-conviction proceeding:


                 (g) On appeal from any ruling against you in a post-conviction proceeding:
                     .. - ·. · .. • .. ,·, ·, .
                       ~
                                                                                                                                 ;-;•--:;_- ...    :,•·.   :'.-;•
                                                                                                                                              _
                                                                                                                                                                                                                        ··...,..:. ~" __- ? --~---- ~-3




                   Were you sentenced on more than one court of an indictment, or on more than one indictment, in the same court
          16.
                '. and at the same time?         Yes            No ~           n
          17.     Do you have any future sentence to serve after you complete the sentence for the judgment that you are
                  challenging?            Yes             No         D.                             [!]                      ·
                  (a) Ifso, give ·name and location of court that imposed the other sentence you ~11 s~rv.e._in the future:
                 .. : ,,.~,a;,.,..... ·.                .                  ·. . .               .                                                 \--,·             .   . .. ,   ,·./r?\_?_\r_;,;~~~~S\:_.-·:
                                                                                                                                                                                                                                      . '<.:~....
                                                            ;._. .                  -.. ,·· .--~<-<,:.),~·;:~-..,;;,~-~---               .. ,·.                                     r:,.----,-;-,~,,-;-.-------:.;_.:---,,... __ _
                  (b) Give the date the oth~f senteririe was i~p~~~~\
                  (c) Give the length of the other sentence:
                                                                                                                    ______~f •~,-)::{{,;;,} '::       .:..--;...;__~~"'-,--"---'--"---'-..;__--~-----

                                                                                             ------------------------
                  ( d) Have you filed, or do you plan to file, any motion, petition, or applicationthatchallenges the judgment or
                  sentence to be served in the future?                                               Yes        I I                               No       D·
                                                                                                                                                                                                                Page 11 of 13


                                    Case 5:08-cr-00075-FL Document 107 Filed 10/22/19 Page 14 of 16
  AO 243 (Rev. 09/17)


       18.       TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain
                 why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your.motion.*
                  A movant ca~ overcome th! orie-year_statute of limitations for filing
                  a §2255 Motion by asserting a credible claim of actual innocence. ·
                  McQuiggin v. Perkins, 569 u.s.· 383, 386, 133 s. Ct. 1924, 185 L.
                  Ed. 2d 1019 (2013). To establish actual innocence the movant must
                  show that, in ;ight of new evidence, .itis more likely than not that
                  no reasonable Juror would have found him guilty beyond a reasonable
                  doubt. Id. (citing Schlup v. Delo, 513 U.S. 298 329 115 S. Ct. 851
                  13 0 L . Ed . @d 8 0 8 ( 199 5 ) ) .            '    '                '




.- -i· .




                                                                       .,r
  .   -:-:,-
                                                                                               •.:,i=:._




           . * The Antiterrorism and Effective DeathPenaltyAct of 1996 ("AEDPA") as contained in.28 U.S.C; § 2255,
               paragraph 6, provides in part that:
                  A one-year period oflimitation shall apply to a motion under this section. The limitation period shall run
                  from the latest of -
                      (1) the date on which the judgment of conviction became final;
                      (2) the date on which the impediment .to making a motion created by governmental action in violation of .
                      the ·Constitution or laws of the United States is·removed, if the movant was prevented from making such a .
                      motion by sucll governmental action;·
                      (3) the date on which the right asserted was initially recognized by the Supreme Court, if that right has
                      been newly recognized by the Supreme Court and made retroactively applicable to cases on colfateral
                      review; or                                                                    .
                      (4) the date on which the facts supporting the claim or claims presented could have been discovered.
                      through tp.e exercise of due diligence.


                                                                                                                         Page 12of 13


                          Case 5:08-cr-00075-FL Document 107 Filed 10/22/19 Page 15 of 16
AO 243 (Rev. 09/17)



Therefore, Movant asks that the Court grant the following relief:
The Movant (Cruz Eduardo Valericia-Adata), most humbly and respectfully
requests Honorable Chief United States District Judge, louise W. Flanagari,
to VACATE his sentence on Count 2: 18 U.S.C. §§922(g)(5)i and 924.




or any other relief to which movant may be entitled.




                                                                       Signature of Attorney (if any)




I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Motion
under 28 U.S.C. § 2255 was placed in the prison mailing system on October 15 , 2 O1 9
                                                                                          (month, date, year)




Executed (signed) on    October 15 , 201 9                            (date)




                                                                      Signature ofMovant


If the person signing is not movant, stat~ relationship to movant and explain why movant is not signing this motion.




                                                                                :,:.,_




                                                                                                                     Page 13 of 13


                 Case 5:08-cr-00075-FL Document 107 Filed 10/22/19 Page 16 of 16
